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AO 91 (Rev. 5/85) Criminal Complaint AUSA VILLAFANA

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SOUTHERN DISTRICT OF FLORIDA suevet  LARMORE

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UNITED STATES OF AMERICA CRIMINAL COMPLAINT
Vs.
CASE NUMBER: 09-8308-LRJ
ALFREDO RODRIGUEZ,
Defendant.

/

 

I, the undersigned complainant, being duly sworn, state the following is true and correct to the best
of my knowledge and belief.
From at least as early as January 18, 2007, through on or about November 3, 2009, in Palm Beach
County, in the Southern District of Florida, and elsewhere, the defendant,
ALFREDO RODRIGUEZ,
did corruptly conceal a record, document, or other object, with the intent to impair the object’s availability
for use in an official proceeding and otherwise corruptly obstructed or impeded an official proceeding,

in violation of Title _18 , United States Code, Section __1512(c) .

I further state that am a _ Special Agent with the Federal Bureau of Investigation , and that this

 

Complaint is based on the following facts:

Please see attached Affidavit

Continued on the attached and made a part hereof. Cy, c
ghia Yn
Christina J. Pryor, Special Agr
atvon

Federal Bureau of Investig

Sworn to before me, and subscribed in my presence,
upon my finding of probable cause.

December [ 2009 at West Palm Beach, Florida
Date City and State

Signature of Vudisigs Offer

    

LINNEA R. JOHNSON
UNITED STATES MAGISTRATE JUD

  
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AFFIDAVIT

I, Christina J. Pryor, being duly sworn, do state and attest as follows:

1, I am a Special Agent with the Federal Bureau of Investigation (FBI) and have
been so employed for three (3) months. I am currently assigned to the Safe Streets Task
Force, Miami Field Division, FBI Squad PB-2. Prior to joining the Miami Field Division,
I attended the FBI Academy in Quantico, Virginia, for five (5) months where I received
training in federal criminal laws and investigation techniques, including the laws related to
obstruction of justice.

2. This affidavit is based upon my own personal knowledge of the facts and
circumstances surrounding the investigation, and information provided to me by other law
enforcement officers. This affidavit does not purport to contain all the information known
to me about this case but addresses only that information necessary to support a finding of
probable cause for the issuance of a criminal complaint charging Alfredo Rodriguez with
obstruction of official proceedings, in violation of Title 18, United States Code, Section
1512(c).

3. On October 27, 2009, agents of the FBI met with and interviewed a
cooperating witness (“CW”). The CW reported that, while conducting discovery in a
pending civil case before the United States District Court for the Southern District of Florida,
he came into contact with Alfredo Rodriguez (“Rodriguez”), who was a subpoenaed witness
in the civil case.

4, Rodriguez had been interviewed by FBI agents on January 18, 2007, in

connection with a federal criminal investigation into the sexual exploitation of minors. Prior
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to being interviewed by FBI, Rodriguez had also been contacted and interviewed by local
police detectives, and had been asked to produce documents related to the criminal
investigation. The civil litigation involving the CW related to civil damages claims made by
victims of the criminal activity that formed the basis of the state and federal criminal
investigations.

5. The CW explained to agents that Rodriguez had been deposed under oath on
two occasions. The first deposition occurred on July 27, 2009, and the second deposition
was conducted on August 9, 2009. In connection with those depositions, Rodriguez was
served with a subpoena duces tecum that called for the production of several types of
documentary evidence. The CW was present for both depositions and Rodriguez testified
that he had no documents responsive to the subpoena duces tecum.

6. In August 2009, after the conclusion of the second deposition, the CW received
a phone call from Rodriguez. Rodriguez informed the CW that he had additional information
that he had not previously disclosed to any law enforcement agency or any of the civil
attorneys. Rodriguez described the information as, the Holy Grail or Golden Nugget and
explained that he had compiled lists of additional victims in the case and their contact
information. Rodriguez explained that the information contained hundreds of additional
victims and their phone numbers from diverse geographic locations, including New York,
New Mexico, and Paris, France.

7. Rodriguez asked the CW to pay him $50,000.00 and, in return, Rodriguez

would turn over the documents relating to the victims. In his initial and subsequent
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communications with Rodriguez, the CW explained to Rodriguez that he was under
subpoena to turn over such information and that it would be illegal for Rodriguez to demand
money for turning over the information. Rodriguez persisted that he would only turn over
the information in his possession in exchange for $50,000.00.

8. On October 28, 2009, in a consensually-monitored phone call, the CW
telephoned Rodriguez. Rodriguez again indicated that he would not turn over the
information relating to the additional victims without monetary compensation. Rodriguez
was told that an associate of the CW would be in touch with him regarding the information
and exchange. The associate that the CW referred to was, in fact, an undercover employee
(UCE) of the FBI.

9. On October 29, 2009, the FBI UCE contacted Rodriguez via telephone.
Rodriguez again explained that he would only turn over the information in exchange for
monetary compensation. The UCE advised Rodriguez that it would take several days to
acquire the funds and that once the funds were obtained, he/she would contact Rodriguez.
During the conversation, Rodriguez admitted that he knew that the information was relevant
to the FBI’s criminal investigation and was called for by the investigation. Rodriguez
explained that he had not turned over the information to the FBI because: (1) it was his
“property” and he should be compensated for it; and (2) he was afraid that the target of the
investigation would make him “disappear” or otherwise harm him, and the information was
his “insurance policy.”

10. On November 2, 2009, the UCE made contact with Rodriguez via telephone.
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In that conversation, Rodriguez and the UCE continued the discussion regarding the purchase
of the documents and scheduled a meeting for the following day.

11. On November 3, 2009, Rodriguez met with the UCE at a predetermined
location. During the meeting, Rodriguez produced a small bound book and several sheets
of legal pad paper containing hand written notes. Rodriguez explained that he had taken the
bound book from his former employer’s residence while employed there in 2004 to 2005 and
that the book had been created by persons working for his former employer. Rodriguez
discussed in detail the information contained within the book, and identified important
information to the UCE. In addition, Rodriguez admitted he had previously lied to FBI.
Rodriguez asked the UCE about the $50,000.00, took possession of the money, and began
counting it.

12. Rodriguez was then detained for Obstruction of Official Proceedings, Title 18,
U.S. Code, Section 1512(c), and questioned. After Miranda warnings were administered by
agents, Rodriguez waived his rights and signed a written waiver of those rights. Rodriguez
admitted that he had the documents and book in his possession and had never turned them
over to local law enforcement or the FBI. In addition, Rodriguez advised he had witnessed
nude girls whom he believed were underage at the pool area of his former employer’s home,
knew that his former employer was engaging in sexual contact with underage girls, and had
viewed pornographic images of underage girls on computers in his employer’s home.
Rodriguez was then released from custody for further investigation.

13. Theitems that Rodriguez had attempted to sell to the UC for $50,000.00
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were reviewed by an agent familiar with the underlying criminal investigation. As Rodriguez
had described, the items contained information material to the underlying investigation that
would have been extremely useful in investigating and prosecuting the case, including the
names and contact information of material witnesses and additional victims. Had those items
been produced in response to the inquiries of the state law enforcement officers or the FBI
Special Agents, their contents would have been presented to the federal grand jury.

Based upon the foregoing, your affiant believes that probable cause exists to believe
that, from at least as early as January 18, 2007 through on or about November 3, 2009, in
Palm Beach County, in the Southern District of Florida, and elsewhere, Alfredo Rodriguez
did corruptly conceal a record, document, or other object, with the intent to impair the
object’s availability for use in an official proceeding and otherwise corruptly obstructed or
impeded an official proceeding, in violation of Title 18, United States Code, Section 1512(c).

FURTHER YOUR AFFIANT SAYETH NAUGHT.

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CHRISTRYA J. PRYOR, ENT
FEDERAL BUREAU OF VES ATION

Sworn to and subscribed before me
this (day of December, 2009.

 

EA R. JOHNSO
UNITED STATE GISTRATE JUDGE
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

Case No. 09-8308-LRJ

UNITED STATES OF AMERICA

VS.

 

ALFREDO RODRIGUEZ,
Defendant.
/
CRIMINAL COVER SHEET

1. Did this matter originate from a matter pending in the Northern Region of the United
States Attorney’s Office prior to October 14, 2003? Yes _X No

2. Did this matter originate from a matter pending in the Central Region of the United
States Attorney’s Office prior to September 1, 2007? Yes _ X No

Respectfully submitted,

JEFFREY H. SLOMAN
ACTING UNITED STATES ATTORNEY

   
  

By:
A. MARIE VILLAFANA

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